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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


CITRIX SYSTEMS, INC.,
                                                      C.A. No.18-00588-LPS-SRF
                             Plaintiff,

            v.                                        JURY TRIAL DEMANDED


WORKSPOT, INC.

                             Defendant.


                                   NOTICE OF SERVICE

        I, Denise S. Kraft, do hereby certify that on February 15, 2019, a copy of: Plaintiff

Citrix Systems, Inc.’s Rule 26(a)(1) Initial Disclosures was emailed to the below counsel:


    David E. Moore                                  Karen A. Gibbs
    Stephanie E. O’Byrne                            1901 S. Bascom Ave
    Bindu A. Palapura                               Suite 900
    POTTER ANDERSON & CORROON LLP                   Campbell, CA 95008
    1313 N. Market Street                           karen.gibbs@workspot.com
    Wilmington, DE 19801
    dmoore@potteranderson.com                       Jennifer Hayes
    sobyrne@potteransderson.com                     Nixon Peabody LLP
    bpalapura@potteranderson.com                    300 South Grand Avenue
                                                    Los Angeles, CA 90071
    Matthew A. Werber                               jenhayes@nixonpeabody.com
    Angelo Christopher
    Nixon Peabody LLP                               Ronald F. Lopez
    70 West Madison St.                             Nixon Peabody LLP
    Chicago, IL 60602                               One Embarcadero Center
    mwerber@nixonpeabody.com                        San Francisco, CA 94111
    achristopher@nixonpeabody.com                   rflopez@nixonpeabody.com




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Dated: February 22, 2019                       DLA PIPER LLP (US)


OF COUNSEL:                                    /s/ Denise S. Kraft
                                               Denise S. Kraft (DE Bar No. 2778)
Michael G. Strapp (admitted Pro Hac Vice )     Brian A. Biggs (DE Bar No. 5591)
Larissa Bifano (admitted Pro Hac Vice )        DLA PIPER LLP (US)
Kristoffer W. Lange (admitted Pro Hac Vice )   1201 North Market Street, Suite 2100
Yasmin Ghassab (admitted Pro Hac Vice )        Wilmington, DE 19801
DLA PIPER LLP (US)                             Telephone: (302) 468-5700
33 Arch Street, 26th Floor                     Facsimile: (302) 394-2341
Boston, MA 02110-1447                          denise.kraft@dlapiper.com
Telephone: (617) 406-6031                      brian.biggs@dlapiper.com
michael.strapp@dlapiper.com
larissa.bifano@dlapiper.com                    Attorneys for Plaintiff
kris.lange@dlapiper.com                        Citrix Systems, Inc.
yasmin.ghassab@dlapiper.com




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